      Case 4:23-cv-00718-BRW            Document 107        Filed 10/29/24     Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

BIO GEN, LLC, et al.                                                                PLAINTIFFS

v.                                    Case No. 4:23-CV-718 (BRW)

GOVERNOR SARAH HUCKABEE SANDERS
in her official capacity; et al.                                                 DEFENDANTS

                    JOINT MOTION FOR STAY OF DISCOVERY AND
                       TO VACATE FINAL SCHEDULING ORDER

       Come Plaintiffs and Defendants, by and through respective counsel, and for their Joint

Motion for Stay of Discovery and to Vacate Final Scheduling Order, state:

       1.      Defendants’ appeal of this Court’s order granting Plaintiffs’ preliminary injunction

and denying the Motion to Dismiss of Separate Defendants Governor Sanders and Attorney

General Griffin on sovereign immunity remains pending before the Eighth Circuit. Oral argument

was held on September 24, 2024, and the parties await a decision.

       2.      The parties agree that the issues to be tried in this case will be determined by the

decision, and thus, will direct what discovery remains to be done.

       3.      Both parties have disclosed their expert witnesses. However, written and deposition

discovery remains to be completed. Without clarification from the Eighth Circuit, depositions of

experts and lay witnesses and filing pre-trial and dispositive motions would be futile.

       4.      The Final Scheduling Order set this case for bench trial on February 11, 2025. ECF

No. 99. The discovery deadline is November 13, 2024. The deadline for dispositive motions is

November 29, 2024, for Daubert motions is November 29, 2024, and for Pre-Trial Disclosure

Sheets is January 14, 2025. Id.




                                                 1
      Case 4:23-cv-00718-BRW            Document 107         Filed 10/29/24      Page 2 of 3




       5.      In the interest of judicial economy and party resources, the parties respectfully

request the Court enter an order staying discovery and vacating the Final Scheduling Order.

Specifically, the parties request a stay until the Eighth Circuit’s opinion is released, at which time

the parties will have 30 days to file a status report with the Court containing new discovery and

motion deadlines and a request for a new bench trial date.

       6.      This request to stay discovery and to vacate the Final Scheduling Order is not made

for the purpose of delay and will not operate to prejudice any right of the parties in this case as

Defendants are enjoined from enforcing Act 629. ECF No. 65, 66.

       7.      This motion is jointly made on behalf of all parties without objection.

       8.      Pursuant to Local Rule 7.2(d), no brief is submitted in support of this motion.

       WHEREFORE, all Plaintiffs and Defendants respectfully request the Court grant their

motion and enter an order staying discovery until the appeal is decided, vacating the Final

Scheduling Order, and setting a 30-day status report deadline from the date the opinion is released.



Dated: October 29, 2024                        Respectfully submitted,


                                               Abtin Mehdizadegan (2013136)
                                               Joseph C. Stepina (2020124)
                                               Allison T. Scott (2020205)
                                               Jacob Oneal Sutter (2023040)
                                               HALL BOOTH SMITH, P.C.
                                               200 River Market Avenue, Suite 500
                                               Little Rock, Arkansas 72201
                                               Telephone: (501) 214-3499
                                               Facsimile: (501) 604-5566
                                               abtin@hallboothsmith.com
                                               jstepina@hallboothsmith.com
                                               allisonscott@hallboothsmith.com
                                               jsutter@hallboothsmith.com




                                                  2
      Case 4:23-cv-00718-BRW            Document 107       Filed 10/29/24    Page 3 of 3




                                             Justin Swanson (admitted pro hac vice)
                                             Paul Vink (admitted pro hac vice)
                                             BOSE MCKINNEY & EVANS, LLP
                                             111 Monument Circle Suite 2700
                                             Indianapolis, IN 46204
                                             Telephone: (327) 684-5405
                                             Facsimile: (317) 223-0404
                                             jswanson@boselaw.com
                                             pvink@boselaw.com

                                             Attorneys for Plaintiffs

                                             TIM GRIFFIN
                                             Attorney General

                                             Jordan Broyles, Ark. Bar No. 2015156
                                             Senior Assistant Attorney General
                                             Office of the Arkansas Attorney General
                                             323 Center Street, Suite 200
                                             Little Rock, AR 72201
                                             Phone: (501) 682-9482
                                             Fax: (501) 682-2591
                                             Email: jordan.broyles@arkansasag.gov

                                             Attorneys for Defendants




                                 CERTIFICATE OF SERVICE

          I, Jordan Broyles, hereby certify that on October 29, 2024, I electronically filed the

foregoing pleading using the CM/ECF system, which will send notifications to all attorneys of

record.

                                             Jordan Broyles, Ark. Bar No. 2015156
                                             Senior Assistant Attorney General




                                                3
